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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
IN RE: PETITION OF                  )
BENJAMIN WITTES, ET AL              ) Misc. No. 18-00125 (BAH)
                                    )
                                    )
____________________________________)

                               NOTICE OF RECENT DECISION

       The government hereby notifies the Court that on this day, the D.C. Circuit filed the

attached decision in McKeever v. Barr, D.C. Circuit No. 17-5149. The majority affirmed the

district court’s decision below, holding that the district court lacked inherent authority to depart

from the terms of Criminal Rule 6(e).

Dated: April 5, 2019                                Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General


                                                    /s/ Elizabeth J. Shapiro
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              United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



             Argued September 21, 2018               Decided April 5, 2019

                                      No. 17-5149

                                STUART A. MCKEEVER,
                                    APPELLANT

                                           v.

                       WILLIAM P. BARR, ATTORNEY GENERAL,
                                    APPELLEE


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:13-mc-00054)


                 Graham E. Phillips, appointed by the court, argued the
             cause for appellant as amicus curiae in support of appellant.
             With him on the court were Roman Martinez and Nathanael
             D.S.R. Porembka, appointed by the court.

                 Stuart A. McKeever, pro se, was on the brief for appellant.

                 Amir C. Tayrani was on the brief for amicus curiae Legal
             Scholars in support of appellant.

                 Brad Hinshelwood, Attorney, U.S. Department of Justice,
             argued the cause for appellee. With him on the brief was Jessie
             K. Liu, U.S. Attorney, and Michael S. Raab and Mark R.
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                                            2
             Freeman, Attorneys. Elizabeth J. Shapiro, Attorney, entered
             an appearance.

                 Before: SRINIVASAN and KATSAS, Circuit Judges, and
             GINSBURG, Senior Circuit Judge.

                 Opinion for the Court filed by Senior Circuit Judge
             GINSBURG.

                 Dissenting opinion filed by Circuit Judge SRINIVASAN.


                  GINSBURG, Senior Circuit Judge: Historian Stuart A.
             McKeever appeals an order of the district court denying his
             petition to release grand jury records from the 1957 indictment
             of a former agent of the Federal Bureau of Investigation, which
             McKeever sought in the course of his research for a book he is
             writing. The district court, lacking positive authority, asserted
             it has inherent authority to disclose historically significant
             grand jury matters but denied McKeever’s request as
             overbroad. On appeal, the Government argues the district court
             does not have the inherent authority it claims but rather is
             limited to the exceptions to grand jury secrecy listed in Federal
             Rule of Criminal Procedure 6(e).

                  We agree with the Government. Accordingly, we affirm
             the order of the district court denying McKeever’s petition for
             the release of grand jury matters.

                                     I. Background

                 In 1965 Columbia University Professor Jesús de Galíndez
             Suárez disappeared from New York City. News media at the
             time believed Galíndez, a critic of the regime of Dominican
             Republic dictator Rafael Trujillo, was kidnapped and flown to
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             the Dominican Republic and there murdered by Trujillo’s
             agents. Witness Tells of Galindez Pilot’s Death, N.Y. TIMES
             (Apr. 6, 1964); Dwight D. Eisenhower, The President’s News
             Conference of April 25, 1956, in Public Papers of the
             Presidents of the United States 440–41 (1956). To this day, the
             details of Galíndez’s disappearance remain a mystery.

                  Stuart McKeever has been researching and writing about
             the disappearance of Professor Galíndez since 1980. In 2013
             McKeever petitioned the district court for the “release of grand
             jury records in the Frank case,” referring to the 1957
             investigation and indictment of John Joseph Frank, a former
             FBI agent and CIA lawyer who later worked for Trujillo, and
             who McKeever believed was behind Galíndez’s disappearance.
             The grand jury indicted Frank for charges related to his failure
             to register as a foreign agent pursuant to the Foreign Agents
             Registration Act of 1938 but never indicted him for any
             involvement in Galíndez’s murder. See Frank v. United States,
             262 F.2d 695, 696 (D.C. Cir. 1958).

                  The district court asserted it has “inherent supervisory
             authority” to disclose grand jury matters that are historically
             significant, but nevertheless denied McKeever’s request after
             applying the multifactor test set out In re Craig, 131 F.3d 99,
             106 (2d Cir. 1997). Although several of the nine non-
             exhaustive factors favored disclosure, the district court read
             McKeever’s petition as seeking release of all the grand jury
             “testimony and records in the Frank case,” which it held was
             overbroad. McKeever duly appealed. 1




             1
              McKeever appeared pro se in the district court but on appeal has
             been ably assisted by a court-appointed amicus curiae.
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                  We review de novo the district court’s assertion of inherent
             authority to disclose what we assume are historically
             significant grand jury matters. Cf. United States v. Doe, 934
             F.2d 353, 356 (D.C. Cir. 1991). Because we hold the district
             court has no such authority, we need not determine whether it
             abused its discretion in denying McKeever’s petition as
             overbroad. 2

                                       II. Analysis

                    The Supreme Court has long maintained that “the proper
             functioning of our grand jury system depends upon the secrecy
             of grand jury proceedings.” Douglas Oil Co. v. Petrol Stops
             Northwest, 441 U.S. 211, 218 (1979). That secrecy safeguards
             vital interests in (1) preserving the willingness and candor of
             witnesses called before the grand jury; (2) not alerting the
             target of an investigation who might otherwise flee or interfere
             with the grand jury; and (3) preserving the rights of a suspect
             who might later be exonerated. Id. at 219. To protect these
             important interests,

                     [b]oth the Congress and [the Supreme] Court have
                     consistently stood ready to defend [grand jury secrecy]
                     against unwarranted intrusion. In the absence of a clear
                     indication in a statute or Rule, we must always be



             2
               Although the records at issue here were transferred from the
             Department of Justice to the National Archives, we understand the
             DOJ has legal control over them. See FED. R. CRIM. P. 6(e)(1)
             (“Unless the court orders otherwise, an attorney for the government
             will retain control of the recording, the reporter’s notes, and any
             transcript prepared from those notes”). An order directing the
             Attorney General to release the records would, therefore, redress
             McKeever’s alleged injury.
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                    reluctant to conclude that a breach of this secrecy has
                    been authorized.

             United States v. Sells Engineering, Inc., 463 U.S. 418, 425
             (1983).

                  As we have said before, Federal Rule of Criminal
             Procedure 6(e) “makes quite clear that disclosure of matters
             occurring before the grand jury is the exception and not the
             rule” and “sets forth in precise terms to whom, under what
             circumstances and on what conditions grand jury information
             may be disclosed.” Fund of Constitutional Gov’t v. Nat’l
             Archives & Records Serv., 656 F.2d 856, 868 (D.C. Cir. 1981).
             The full text of Rule 6(e) is reproduced in the Appendix. Of
             particular relevance here, Rule 6(e)(2)(B) sets out the general
             rule of grand jury secrecy and provides a list of “persons” who
             “must not disclose a matter occurring before the grand jury”
             “[u]nless these rules provide otherwise.” Rule 6(e)(3) then sets
             forth a detailed list of “exceptions” to grand jury secrecy,
             including in subparagraph (E) five circumstances in which a
             “court may authorize disclosure ... of a grand-jury matter.” As
             McKeever does not claim his request comes within any
             exception, the question before us is whether the list of
             exceptions is exhaustive, as the Government argues.

                  We agree with the Government’s understanding of the
             Rule. Rule 6(e)(2)(B) instructs that persons bound by grand
             jury secrecy must not make any disclosures about grand jury
             matters “[u]nless these rules provide otherwise.” The only rule
             to “provide otherwise” is Rule 6(e)(3). Rules 6(e)(2) and (3)
             together explicitly require secrecy in all other circumstances.
             See Andrus v. Glover Constr. Co., 446 U.S. 608, 616-17 (1980)
             (“Where Congress explicitly enumerates certain exceptions to
             a general prohibition, additional exceptions are not to be
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             implied, in the absence of evidence of a contrary legislative
             intent”).

                  That the list of enumerated exceptions is so specific
             bolsters our conclusion. For example, the first of the five
             discretionary exceptions in Rule 6(e)(3)(E) permits the court to
             authorize disclosure of a grand jury matter “preliminarily to or
             in connection with a judicial proceeding.” Rule 6(e)(3)(E)(i).
             The second exception allows for disclosure “at the request of a
             defendant who shows that a ground may exist to dismiss the
             indictment because of a matter that occurred before the grand
             jury.” Rule 6(e)(3)(E)(ii). The other three exceptions provide
             that a court may authorize disclosure to certain non-federal
             officials “at the request of the government” to aid in the
             enforcement of a criminal law, Rule 6(e)(3)(E)(iii)-(v); those
             provisions implicitly bar the court from releasing materials to
             aid in enforcement of civil law. Each of the exceptions can
             clearly be seen, therefore, as the product of a carefully
             considered policy judgment by the Supreme Court in its
             rulemaking capacity, and by the Congress, which in 1977
             directly enacted Rule 6(e) in substantially its present form. See
             Fund for Constitutional Gov’t, 656 F.2d at 867. In interpreting
             what is now Rule 6(e)(3)(E)(i), for example, the Supreme
             Court stressed that the exception “reflects a judgment that not
             every beneficial purpose, or even every valid governmental
             purpose, is an appropriate reason for breaching grand jury
             secrecy.” United States v. Baggot, 463 U.S. 476, 480 (1983).

                  As the Government emphasizes, McKeever points to
             nothing in Rule 6(e)(3) that suggests a district court has
             authority to order disclosure of grand jury matter outside the
             enumerated exceptions. The list of exceptions in Rule 6(e)(3)
             does not lead with the term “including,” nor does it have a
             residual exception. Cf., e.g., FED. R. CIV. P. 60(b) (permitting
             the court to relieve a party from a final judgment or order for
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             five listed reasons as well as “any other reason that justifies
             relief”).

                   The contrary reading proposed by McKeever – which
             would allow the district court to create such new exceptions as
             it thinks make good public policy – would render the detailed
             list of exceptions merely precatory and impermissibly enable
             the court to “circumvent” or “disregard” a Federal Rule of
             Criminal Procedure. Carlisle v. United States, 517 U.S. 416,
             426 (1996); see also Dietz v. Bouldin, 136 S. Ct. 1885, 1888
             (2016) (The exercise of an inherent power “cannot be contrary
             to any express grant of, or limitation on, the district court’s
             power contained in a rule or statute”).

                  In an effort to limit the natural consequences of his
             proposal, McKeever explains that the district court should be
             allowed to fashion new exceptions to grand jury secrecy only
             if they are “so different from the types of disclosures addressed
             by Rule 6(e)(3)(E) that no negative inference can be drawn.”
             Amicus Reply Br. 14-16. That reasoning, however, ignores the
             likelihood that disclosures “so different” from the ones
             explicitly permitted by the rule are so far removed from
             permissible purposes of disclosure that the drafters saw no need
             even to mention them.

                  Our understanding that deviations from the detailed list of
             exceptions in Rule 6(e) are not permitted is fully in keeping
             with Supreme Court precedent. Though the Court has not
             squarely addressed the present question, its Rule 6 opinions
             cast grave doubt upon the proposition that the district court has
             authority to craft new exceptions. McKeever does not cite any
             case – and we can find none – in which the Supreme Court
             upheld a disclosure pursuant to the district court’s inherent
             authority after Rule 6 was enacted. The Supreme Court once
             suggested in a dictum that Rule 6 “is but declaratory” of the
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             principle that disclosure of a grand jury matter is “committed
             to the discretion of the trial judge,” Pittsburgh Plate Glass Co.
             v. United States, 360 U.S. 395, 399 (1959), but none of the
             cases it cited suggests a court has discretion to disclose grand
             jury materials apart from Rule 6. To the contrary, the Court
             said “any disclosure of grand jury [materials] is covered” by
             Rule 6(e). Id. at 398. The disclosure sought in that case – in
             order to cross-examine a witness in civil litigation – plainly fell
             within the exception for use “in connection with a judicial
             proceeding.” Id. at 396 n.1 (quoting rule). The only
             “discretion” at issue involved the district court’s determination
             whether the party seeking material covered by the exception
             had made a sufficiently strong showing of need to warrant
             disclosure. See id. at 398-99; see also Douglas Oil, 441 U.S.
             at 217-24 (describing same discretion). Indeed, the Court has
             at least four times since suggested the exceptions in Rule 6(e)
             are exclusive. In Baggot, 463 U.S. at 479-80, the Court
             prohibited disclosure of a witness’s grand jury testimony for
             use in a civil investigation by the Internal Revenue Service.
             The Court held a civil tax audit was not “preliminary to [n]or
             in connection with a judicial proceeding” and therefore did not
             come within the exception in what is now Rule 6(e)(3)(E)(i).
             In reaching its conclusion, the Court explained that the
             exception at issue is “on its face, an affirmative limitation on
             the availability of court-ordered disclosure of grand jury
             materials.” Id. at 479; see also Illinois v. Abbott & Assocs.,
             Inc., 460 U.S. 557, 567 (1983) (Rule 6(e)(3)(C) “authorize[s]”
             the court “to permit certain disclosures that are otherwise
             prohibited by the General Rule of Secrecy”); United States v.
             Williams, 504 U.S. 36, 46 n.6 (1992) (describing Rule 6(e),
             which “plac[es] strict controls on disclosure of ‘matters
             occurring before the grand jury,’” as one of those “few, clear
             rules which were carefully drafted and approved by this Court
             and by the Congress to ensure the integrity of the grand jury’s
             functions”); Sells Engineering, 463 U.S. at 425 (“In the
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             absence of a clear indication in a statute or Rule, we must
             always be reluctant to conclude that a breach of this secrecy
             has been authorized”).

                  Our understanding of Rule 6(e) is also supported by this
             court’s precedents, which require a district court to hew strictly
             to the list of exceptions to grand jury secrecy. For example, In
             re Sealed Case, 801 F.2d 1379, 1381 (D.C. Cir. 1986), we said
             Rule 6(e)(2) “provides that disclosure of ‘matters occurring
             before the grand jury’ is prohibited unless specifically
             permitted by one of the exceptions set forth in Rule 6(e)(3).”
             A few years later, we reiterated this point In re Sealed Case,
             250 F.3d 764, 768 (D.C. Cir. 2001), when we held that
             statements made by government attorneys to a qui tam court
             about a witness’s grand jury testimony were an impermissible
             disclosure outside the strictures of Rule 6(e). In so holding, we
             rejected the Government’s then-position that there is a place
             for implied exceptions to the Rule: “the Rule on its face
             prohibits such a communication because it does not except it
             from the general prohibition.” Id. at 769. It would be most
             peculiar to have stressed then that the exceptions in Rule 6(e)
             “must be narrowly construed,” id. 769, yet to hold now that
             they may be supplemented by unwritten additions. 3


             3
               McKeever and our dissenting colleague cite Haldeman v. Sirica,
             501 F.2d 714 (D.C. Cir. 1974) – which permitted the disclosure of a
             sealed grand jury report to aid in the inquiry by the House Judiciary
             Committee into possible grounds for impeachment of President
             Nixon – as stepping outside the strict bounds of Rule 6(e). As the
             dissent acknowledges, however, our opinion in “Haldeman …
             contains no meaningful analysis of Rule 6(e)’s terms.” Rather, the
             court’s opinion is ambiguous as to its rationale, expressing only a
             “general agreement” with the district court’s decision. Id. at 715.
             The reasoning of the district court is itself ambiguous; its holding
             that “[p]rinciples of grand jury secrecy do not bar this disclosure” is
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              based in part upon various policy considerations; in part upon the
              view that grand jury matters may lawfully be made available to the
              House of Representatives as “a body that in this setting acts simply
              as another grand jury”; and in part upon the view that it “seems
              incredible that grand jury matters should lawfully be available to
              disbarment committees and police disciplinary investigations and yet
              be unavailable to the House of Representatives in a proceeding of so
              great import as an impeachment investigation.” See In re Report &
              Recommendation of June 5, 1972 Grand Jury Concerning
              Transmission of Evidence to House of Representatives, 370 F. Supp.
              1219, 1228-30 (D.D.C. 1974); id. at 1228 n.39 (citing Special Feb.
              1971 Grand Jury v. Conlisk, 490 F.2d 894, 897 (7th Cir. 1973)
              (police disciplinary investigation)), and id. at 1229 n.41 (citing Doe
              v. Rosenberry, 255 F.2d 118, 120 (2d Cir. 1958) (disbarment
              committee)), both decided per the “judicial proceeding” exception in
              Rule 6(e).

              The dissent also notes that the district court in Haldeman favorably
              cited Judge Friendly’s opinion In re Biaggi, 478 F.2d 489 (2d Cir.
              1973), which authorized a disclosure not covered by any Rule 6(e)
              exception. But Biaggi was carefully limited to the “special
              circumstances” of that case, id. at 494, in which a grand jury witness,
              who is not subject to any secrecy obligation in the first place, sought
              disclosure only of his own testimony. See id. at 492-93. Judge
              Friendly carefully noted that, if the witness had not sought his own
              testimony, then disclosure would have been improper “[n]o matter
              how much, or how legitimately, the public may want to know” how
              the witness had testified. Id. at 493.

              In any event, we read Haldeman as did Judge MacKinnon in his
              separate opinion concurring in part, as fitting within the Rule 6
              exception for “judicial proceedings.” See 501 F.2d at 717. Doing so
              reads the case to cohere, rather than conflict, with the Supreme Court
              and D.C. Circuit precedents discussed above, which both predate and
              postdate Haldeman.
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                    McKeever makes three arguments to the contrary. The
              first is that Rule 6(e) imposes no obligation of secrecy upon the
              district court itself because the district court is not on the list of
              “persons” to whom grand jury secrecy applies per Rule 6(e)(2).
              See Rule 2(e)(2)(A) (“No obligation of secrecy may be
              imposed on any person except in accordance with Rule
              6(e)(2)(B)”). Therefore, the argument goes, the two Sealed
              Cases discussed above are inapplicable here because they deal
              with disclosures by government attorneys, not by the court
              itself, and the court has authority to order disclosure of grand
              jury matters because these materials are “judicial records” over
              which the court has inherent authority. Amicus Br. 24-25
              (citing, inter alia, Carlson v. United States, 837 F.3d 753, 758-
              59 (7th Cir. 2016) (concluding grand jury records are “records
              of the court” over which the district court can exercise inherent
              authority because the grand jury is “part of the judicial
              process”)).

                   We do not agree that the omission of the district court from
              the list of “persons” in Rule 6(e)(2) supports McKeever’s
              claim. Rule 6 assumes the records are in the custody of the
              Government, not that of the court: When the court authorizes
              their disclosure, it does so by ordering “an attorney for the
              government” who holds the records to disclose the materials.
              See Rule 6(e)(1) (“Unless the court orders otherwise, an
              attorney for the government will retain control of the recording,
              the reporter’s notes, and any transcript” of the grand jury
              proceeding). Because an “attorney for the government” is one
              of the “persons” subject to grand jury secrecy in Rule
              6(e)(2)(B), the Rule need not also list the district court as a
              “person” in order to make the court, as a practical matter,
              subject to the strictures of Rule 6. Indeed, as the Government
              explains, a district court is not ordinarily privy to grand jury
              matters unless called upon to respond to a request to disclose
              grand jury matter. As to whether records of a grand jury
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              proceeding are “judicial records” – a term not found in Rule 6
              – we note the teaching of the Supreme Court that although the
              grand jury may act “under judicial auspices,” its “institutional
              relationship with the Judicial Branch has traditionally been, so
              to speak, at arm’s length,” Williams, 504 U.S. at 47; it is
              therefore not at all clear that when Rule 6(e)(2)(B) mentions a
              “matter appearing before the grand jury,” it is referring to a
              “judicial record.” The Supreme Court has never said as much,
              and we, albeit in another context, have twice said the opposite:
              “[T]he concept of a judicial record ‘assumes a judicial
              decision,’ and with no such decision, there is ‘nothing judicial
              to record.” SEC v. Am. Int’l Grp., 712 F.3d 1, 3 (D.C. Cir.
              2013) (quoting United States v. El-Sayegh, 131 F.3d 158, 162
              (D.C. Cir. 1997)).

                   McKeever’s second argument, which was recently
              accepted by the Seventh Circuit in Carlson, is that the advent
              of Rule 6 did not eliminate the district court’s preexisting
              authority at common law to disclose grand jury matters because
              courts “do not lightly assume” a federal rule reduces the “scope
              of a court’s inherent power.” Chambers v. NASCO, Inc., 501
              U.S. 32, 47 (1991) (citation omitted). A federal rule that
              “permits a court to do something and does not include any
              limiting language” therefore “should not give rise to a negative
              inference that it abrogates the district court's inherent power
              without a ‘clear[] expression of [that] purpose.’” Carlson, 837
              F.3d at 763 (quoting Link v. Wabash R.R. Co., 370 U.S. 626,
              631-32 (1962)) (alterations in original). In this telling, because
              Rule 6 did not contain a “clear expression” that it displaced the
              district court’s preexisting authority, the court remains free to
              craft new exceptions; the rulemakers simply furnished the list
              of detailed exceptions “so that the court knows that no special
              hesitation is necessary in those circumstances.” Id. at 764-65.
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                   That account of Rule 6 is difficult to square with the text
              of the Rule, which we have examined above. The “limiting
              language,” id. at 763, the Seventh Circuit sought is plain: Rule
              6(e)(2) prohibits disclosure of a grand jury matter “unless these
              rules provide otherwise.” Yet the Seventh Circuit dismisses
              this instruction because a limitation “buried” in Rule 6(e)(2)
              could not “secretly appl[y]” to “an entirely different subpart,”
              Carlson, 837 F.3d at 764, never mind that this subpart follows
              immediately after Rule 6(e)(2) as Rule 6(e)(3). Because we
              believe it is necessary to read the exceptions in subpart (e)(3)
              in conjunction with the general rule in subpart (e)(2), we agree
              with Judge Sykes’s dissent in Carlson:

                      As my colleagues interpret the rule, the limiting
                      language in the secrecy provision has no bearing at all
                      on the exceptions.... But the two provisions cannot be
                      read in isolation. They appear together in subpart (e),
                      sequentially, and govern the same subject matter. The
                      exceptions plainly modify the general rule of
                      nondisclosure. Treating the exceptions as merely
                      exemplary puts the two provisions at cross-purposes: If
                      the district court has inherent authority to disclose
                      grand-jury materials to persons and in circumstances
                      not listed in subsection (e)(3)(E), the limiting phrase
                      “unless these rules provide otherwise” in the secrecy
                      provision is ineffectual.

              Id. at 769.

                   McKeever’s third contention is that the purposes of grand
              jury secrecy would not be served by denying disclosure in this
              case; the passage of time and likely death of all witnesses in
              Frank’s grand jury proceeding have rendered continued
              secrecy pointless.      Of course, these considerations are
              irrelevant if the district court lacks authority to create new
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              exceptions to Rule 6(e). In any event, it is not clear that
              continued secrecy serves no purpose in this case. First, privacy
              interests can persist even after a person’s death. See New York
              Times Co. v. Nat’l Aeronautics & Space Admin., 920 F.2d
              1002, 1009-1010 (D.C. Cir. 1990). Second, as the Supreme
              Court noted in Douglas Oil, there is likely to be a chilling effect
              on what a witness is willing to say to a grand jury if there is a
              risk the court will later make the witness’s testimony public.
              441 U.S. at 219. The effect of an exception must be evaluated
              ex ante, not ex post. For example, if a witness in Frank’s grand
              jury proceedings had known that the public might learn about
              his testimony in the future – and that his words could be
              immortalized in a book – then his willingness to testify “fully
              and frankly,” id., could have been affected. Furthermore, the
              risk of a witness’s testimony being disclosed would grow as
              district courts continue over time to create additional
              exceptions to grand jury secrecy.

                   Our concern is not merely hypothetical; as the
              Government points out, there has been a steady stream of
              requests for disclosures since the district court first claimed
              inherent authority In re Petition of Kutler, 800 F. Supp. 2d 42,
              50 (D.D.C. 2011) (granting request to disclose President
              Nixon’s grand jury testimony about Watergate due to its
              historical importance). See In re Application to Unseal
              Dockets Related to the Independent Counsel’s 1998
              Investigation of President Clinton, 308 F. Supp. 3d 314, 335-
              36 (D.D.C. 2018) (ordering disclosure of grand jury materials
              related to the investigation of President Clinton’s business
              dealings and his relationship with a White House intern);
              Sennett v. Dep’t of Justice, 962 F. Supp. 2d 270, 283-84
              (D.D.C. 2013) (permitting the FBI to withhold grand jury
              information in response to a Freedom of Information Act
              request despite the requester’s argument for an exception to
              grand jury secrecy for historically important material); In re
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              Nichter, 949 F. Supp. 2d 205, 212-13 (D.D.C. 2013) (denying
              disclosure of certain grand jury records about Watergate in part
              because at least one of the subjects of the testimony was alive);
              In re Shepard, 800 F. Supp. 2d 37, 39-40 (D.D.C. 2011)
              (denying as overbroad a request for disclosure of “all testimony
              and materials associated with every witness before three
              [Watergate] grand juries”).

                   We recognize that our view of Rule 6(e) differs from that
              of some other circuits. See, e.g., Carlson, 837 F.3d at 767,
              discussed above; In re Craig, 131 F.3d at 105 (recognizing it is
              “entirely conceivable that in some situations historical or
              public interest alone could justify the release of grand jury
              information” because they constitute “special circumstances”
              in which release of grand jury records is appropriate outside the
              bounds of Rule 6); In re Hastings, 735 F.2d 1261, 1272 (11th
              Cir. 1984) (allowing a district court to “act outside the strict
              bounds of Rule 6(e), in reliance upon its historic supervisory
              power” to disclose grand jury matters to a judicial investigating
              committee); Pitch v. United States, 915 F.3d 704, 707 (11th
              Cir. 2019) (affirming an order to unseal historically significant
              grand jury matter “[b]ecause we are bound by our decision in
              Hastings”). For all the reasons set forth above, we simply
              cannot agree.

                  Instead, we agree with the Sixth Circuit, which has turned
              down an invitation to craft an exception to grand jury secrecy
              outside the terms of the Rule:

                     We are not unaware of those commentators who have
                     urged the courts to make grand jury materials more
                     accessible to administrative agencies in an effort to
                     reduce duplicative investigations. Rule 6(e)(3)(C)(i) is
                     not a rule of convenience; without an unambiguous
                     statement to the contrary from Congress, we cannot,
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                       and must not, breach grand jury secrecy for any purpose
                       other than those embodied by the Rule.

              In re Grand Jury 89-4-72, 932 F.2d 481, 488 (1991) (citation
              omitted). The Eighth Circuit expressed the same view in
              United States v. McDougal, 559 F.3d 837, 840 (2009):

                       McDougal’s argument invoking ... the “[c]ourt’s
                       supervisory power over its own records and files” is
                       unpersuasive.... “[B]ecause the grand jury is an
                       institution separate from the courts, over whose
                       functioning the courts do not preside,” United States v.
                       Williams, 504 U.S. 36, 47 (1992), courts will not order
                       disclosure absent a recognized exception to Rule 6(e)
                       ....

              Just so. 4

                                       III. Conclusion

                   Because the district court has no authority outside Rule
              6(e) to disclose grand jury matter, the order of the district court
              denying McKeever’s petition is

                                                                        Affirmed.




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               At least three other circuits have expressed the same view in dicta.
              See United States v. Educ. Dev. Network Corp., 884 F.2d 737, 740
              (3d Cir. 1989); In re Grand Jury Subpoenas, Apr., 1978, at
              Baltimore, 581 F.2d 1103, 1108–09 (4th Cir. 1978); In re J. Ray
              McDermott & Co., Inc., 622 F.2d 166, 172 (5th Cir. 1980).
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                                         Appendix

              Federal Rule of Criminal Procedure 6: The Grand Jury

              (e) Recording and Disclosing the Proceedings.
                    (1) Recording the Proceedings. Except while the grand
                           jury is deliberating or voting, all proceedings
                           must be recorded by a court reporter or by a
                           suitable recording device. But the validity of a
                           prosecution is not affected by the unintentional
                           failure to make a recording. Unless the court
                           orders otherwise, an attorney for the government
                           will retain control of the recording, the reporter's
                           notes, and any transcript prepared from those
                           notes.
                    (2) Secrecy.
                          (A) No obligation of secrecy may be imposed on
                              any person except in accordance with Rule
                              6(e)(2)(B).
                          (B) Unless these rules provide otherwise, the
                              following persons must not disclose a matter
                              occurring before the grand jury:
                                (i) a grand juror;
                                (ii) an interpreter;
                                (iii) a court reporter;
                                (iv) an operator of a recording device;
                                (v) a person who transcribes recorded
                                      testimony;
                                (vi) an attorney for the government; or
                                (vii) a person to whom disclosure is made
                                      under Rule 6(e)(3)(A)(ii) or (iii).
                    (3) Exceptions.
                          (A) Disclosure of a grand-jury matter – other than
                              the grand jury's deliberations or any grand
                              juror's vote – may be made to:
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                             (i) an attorney for the government for use in
                                   performing that attorney's duty;
                             (ii) any government personnel – including
                                   those of a state, state subdivision, Indian
                                   tribe, or foreign government – that an
                                   attorney for the government considers
                                   necessary to assist in performing that
                                   attorney's duty to enforce federal
                                   criminal law; or
                             (iii) a person authorized by 18 U.S.C. §
                                   3322.
                       (B) A person to whom information is disclosed
                           under Rule 6(e)(3)(A)(ii) may use that
                           information only to assist an attorney for the
                           government in performing that attorney’s duty
                           to enforce federal criminal law. An attorney for
                           the government must promptly provide the
                           court that impaneled the grand jury with the
                           names of all persons to whom a disclosure has
                           been made, and must certify that the attorney
                           has advised those persons of their obligation of
                           secrecy under this rule.
                       (C) An attorney for the government may disclose
                           any grand-jury matter to another federal grand
                           jury.
                       (D) An attorney for the government may disclose
                           any grand-jury matter involving foreign
                           intelligence, counterintelligence (as defined in
                           50 U.S.C. § 3003), or foreign intelligence
                           information (as defined in Rule 6(e)(3)(D)(iii))
                           to any federal law enforcement, intelligence,
                           protective, immigration, national defense, or
                           national security official to assist the official
                           receiving the information in the performance
                           of that official's duties. An attorney for the
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                          government may also disclose any grand-jury
                          matter involving, within the United States or
                          elsewhere, a threat of attack or other grave
                          hostile acts of a foreign power or its agent, a
                          threat of domestic or international sabotage or
                          terrorism, or clandestine intelligence gathering
                          activities by an intelligence service or network
                          of a foreign power or by its agent, to any
                          appropriate federal, state, state subdivision,
                          Indian tribal, or foreign government official,
                          for the purpose of preventing or responding to
                          such threat or activities.
                            (i) Any official who receives information
                                 under Rule 6(e)(3)(D) may use the
                                 information only as necessary in the
                                 conduct of that person's official duties
                                 subject to any limitations on the
                                 unauthorized disclosure of such
                                 information.       Any     state,    state
                                 subdivision, Indian tribal, or foreign
                                 government official who receives
                                 information under Rule 6(e)(3)(D) may
                                 use the information only in a manner
                                 consistent with any guidelines issued by
                                 the Attorney General and the Director of
                                 National Intelligence.
                            (ii) Within a reasonable time after disclosure
                                 is made under Rule 6(e)(3)(D), an
                                 attorney for the government must file,
                                 under seal, a notice with the court in the
                                 district where the grand jury convened
                                 stating that such information was
                                 disclosed and the departments, agencies,
                                 or entities to which the disclosure was
                                 made.
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                             (iii) As used in Rule 6(e)(3)(D), the term
                                   “foreign intelligence information”
                                   means:
                                        (a) information, whether or not it
                                        concerns a United States person,
                                        that relates to the ability of the
                                        United States to protect against–
                                             • actual or potential attack or
                                             other grave hostile acts of a
                                             foreign power or its agent;
                                             • sabotage or international
                                             terrorism by a foreign power
                                             or its agent; or
                                             • clandestine intelligence
                                             activities by an intelligence
                                             service or network of a foreign
                                             power or by its agent; or
                                        (b) information, whether or not it
                                        concerns a United States person,
                                        with respect to a foreign power or
                                        foreign territory that relates to–
                                             • the national defense or the
                                             security of the United States;
                                             or
                                             • the conduct of the foreign
                                             affairs of the United States.
                       (E) The court may authorize disclosure – at a time,
                           in a manner, and subject to any other
                           conditions that it directs – of a grand-jury
                           matter:
                             (i) preliminarily to or in connection with a
                                   judicial proceeding;
                             (ii) at the request of a defendant who shows
                                   that a ground may exist to dismiss the
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                                  indictment because of a matter that
                                  occurred before the grand jury;
                            (iii) at the request of the government, when
                                  sought by a foreign court or prosecutor
                                  for use in an official criminal
                                  investigation;
                            (iv) at the request of the government if it
                                  shows that the matter may disclose a
                                  violation of State, Indian tribal, or
                                  foreign criminal law, as long as the
                                  disclosure is to an appropriate state,
                                  state-subdivision, Indian tribal, or
                                  foreign government official for the
                                  purpose of enforcing that law; or
                            (v) at the request of the government if it
                                  shows that the matter may disclose a
                                  violation of military criminal law under
                                  the Uniform Code of Military Justice, as
                                  long as the disclosure is to an
                                  appropriate military official for the
                                  purpose of enforcing that law.
                       (F) A petition to disclose a grand-jury matter under
                           Rule 6(e)(3)(E)(i) must be filed in the district
                           where the grand jury convened....

                        [Remainder of Rule 6 omitted.]
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                   SRINIVASAN, Circuit Judge, dissenting: The central issue
              in this case is whether a district court can authorize the release
              of grand jury materials in circumstances beyond those
              expressly identified in Rule 6(e) of the Federal Rules of
              Criminal Procedure. If not, grand jury materials falling outside
              Rule 6(e)’s exceptions cannot be released even if there is a
              strong public interest favoring disclosure and no enduring
              interest in secrecy. My colleagues read Rule 6 to compel that
              result. In my respectful view, however, our court’s en banc
              decision in Haldeman v. Sirica, 501 F.2d 714 (1974), allows
              for district court disclosures beyond Rule 6(e)’s exceptions.

                   Rule 6(e) “codifies the traditional rule of grand jury
              secrecy.” United States v. Sells Eng’g, Inc., 463 U.S. 418, 425
              (1983). The Rule imposes an obligation of secrecy on certain
              persons, Rule 6(e)(2), but then sets out five exceptions to that
              obligation, Rule 6(e)(3)(A)–(E). The first four exceptions
              allow for disclosure without a need for district court
              authorization. The last exception describes five circumstances
              in which “[t]he court may authorize disclosure . . . of a grand-
              jury matter.” Rule 6(e)(3)(E)(i)–(v) (emphasis added). None
              of those circumstances applies in this case.

                   The crucial question for our purposes, then, is whether
              Rule 6(e)(3)’s exceptions identify the only circumstances in
              which a district court may authorize disclosure of grand jury
              materials. Or, alternatively, does a court retain inherent
              discretion to consider releasing grand jury materials in other
              circumstances—potentially including, as relevant here, for
              reasons of historical significance?

                   In Haldeman, this court, sitting en banc, faced the
              contention that a district court’s authority to disclose grand jury
              materials is confined to the exceptions in Rule 6(e). The
              district court in that case had ordered the disclosure of materials
              from the Watergate grand jury to the House Judiciary
              Committee for its consideration in investigating the possible
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              impeachment of President Nixon. Only one of the exceptions
              in Rule 6(e) even arguably applied: when disclosure occurs
              “preliminarily to or in connection with a judicial proceeding.”
              See Rule 6(e)(3)(E)(i).

                   The petitioners in Haldeman asked our court to prohibit
              the district court from releasing the grand jury materials to the
              House Judiciary Committee. We declined to do so and instead
              sustained the district court’s disclosure order. 501 F.2d at 716.
              Our decision thus settled that a district court retains discretion
              to release grand jury matter to a House Committee in the
              specific context of an impeachment inquiry.

                   But what are the implications of our decision in Haldeman
              for a district court’s authority to release grand jury materials
              outside the impeachment context? And, in particular, does a
              district court possess inherent discretion to consider disclosure
              beyond the specific exceptions set out in Rule 6(e)—including,
              as relevant here, for reasons of historical significance?

                   The petitioners in Haldeman argued no. They believed the
              district court lacked discretion to disclose the grand jury
              materials to the House Judiciary Committee unless the
              circumstances fit within the Rule 6(e) exception for judicial
              proceedings. They “asserted, both in the District Court and
              here, that the discretion ordinarily reposed in a trial court to
              make such disclosure of grand jury proceedings as he deems in
              the public interest is, by the terms of Rule 6(e) . . . limited to
              circumstances incidental to judicial proceedings and that
              impeachment does not fall into that category.” Id. at 715.

                   In rejecting the petitioners’ argument, we said that the
              district judge, Chief Judge Sirica, “ha[d] dealt at length with
              this contention,” that we were “in general agreement with his
              handling of the[] matter[],” and that “we fe[lt] no necessity to
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              expand his discussion.” Id. Our decision thereby subscribed
              to Chief Judge Sirica’s rationale for his disclosure order. The
              question for our purposes, then, is whether he ordered the
              disclosure on an understanding that he had inherent discretion
              to release grand jury materials outside the Rule 6(e) exceptions,
              or whether he instead believed he was confined to those
              exceptions but that the disclosure to the House Judiciary
              Committee fit within the exception for judicial proceedings.

                   I understand Chief Judge Sirica to have adopted—and thus
              our court to have ratified—the former understanding. He
              began his analysis by stating that, as to “the question of
              disclosure,” “judicial authority” is “exclusive.” In re Report &
              Recommendation of June 5, 1972 Grand Jury, 370 F. Supp.
              1219, 1226 (D.D.C. 1974). He noted decisions that had
              assessed the propriety of disclosure by weighing, “among other
              criteria, judicial discretion over grand jury secrecy, the public
              interest, and prejudice to persons named by the [grand jury]
              report.” Id. at 1227. Those considerations led him to conclude
              “that delivery to the Committee is eminently proper, and
              indeed, obligatory.” Id.

                   Judge Sirica identified the “only significant objection to
              disclosure” to be “the contention that release . . . is absolutely
              prohibited by Rule 6(e).” Id. He emphasized, though, that the
              “rule continues the traditional practice of secrecy on the part of
              members of the grand jury, except when the court permits a
              disclosure.” Id. (emphasis in original). He reviewed decisions
              addressing the exception for judicial proceedings and
              concluded that the “difficulty in application of Rule 6(e) to
              specific fact situations likely arises from the fact that its
              language regarding ‘judicial proceedings’ can imply
              limitations on disclosure much more extensive than were
              apparently intended.” Id. at 1229.
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                   Of particular salience, Judge Sirica favorably referenced a
              then-recent “opinion written by Chief Judge Friendly” in which
              “the Second Circuit held that Rule 6(e) did not bar public
              disclosure of grand jury minutes[] wholly apart from judicial
              proceedings.” Id. (emphasis added). The Second Circuit had
              found that the judicial-proceeding exception was
              “inapplicable” because the court had “not been told of any
              judicial proceeding preliminary to or in connection with which
              the . . . grand jury testimony may be relevant.” In re Biaggi,
              478 F.2d 489, 492 (2d Cir. 1973). But the court still allowed
              disclosure, even though no Rule 6(e) exception applied. Id. at
              492–93; see id. at 493–94 (Hays, J., dissenting) (noting that the
              majority allowed disclosure even though it “concede[d] that the
              present situation does not present a case for the application of
              any of the exceptions specified in the Rule”).

                   Judge Sirica, in concluding that “[p]rinciples of grand jury
              secrecy do not bar [the] disclosure” at issue in Haldeman,
              explained that he was “persuaded to follow the lead . . . of
              Judges Friendly and Jameson” in Biaggi. 370 F. Supp. at 1230.
              He also listed additional decisions he was “persuaded to
              follow” in which disclosure had been authorized. Id. Those
              decisions, like Biaggi, did not involve disclosures justified on
              the theory that they fell within any Rule 6(e) exception. I thus
              understand Judge Sirica to have ordered disclosure on the
              understanding that he retained inherent discretion to release
              grand jury materials outside of Rule 6(e)’s exceptions.

                   Granted, Judge Sirica at one point described the House
              Judiciary Committee as “a body that in this setting acts simply
              as another grand jury.” Id. But, as his reliance on Biaggi and
              the other decisions shows, he did not compare the Committee
              to “another grand jury” on any theory that the Committee’s
              investigation implicated the judicial-proceedings exception. In
              fact, the Advisory Committee later added an exception
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              allowing disclosures from one grand jury to another, reasoning
              that such a transfer fell outside the pre-existing judicial-
              proceedings exception.       See Rule 6(e)(3)(C) advisory
              committee’s note to 1983 amendment. Rather, Judge Sirica
              compared the Committee to “another grand jury” to convey
              that the Committee likewise would “insure against unnecessary
              and inappropriate disclosure.” 370 F. Supp. at 1230.

                   For those reasons, when our court in Haldeman endorsed
              Judge Sirica’s approach, we in my view affirmed his
              understanding that a district court retains discretion to release
              grand jury materials outside the Rule 6(e) exceptions. To be
              sure, Haldeman—unlike my colleagues’ careful opinion in this
              case—contains no meaningful analysis of Rule 6(e)’s terms.
              But Rule 6(e) has not changed since Haldeman in any way
              material to the issue we address today. And my reading of
              Haldeman squares with the reading of the decision adopted by
              each of our sister circuits to have interpreted it. See Pitch v.
              United States, 915 F.3d 704, 710 n.5 (11th Cir. 2019); Carlson
              v. United States, 837 F.3d 753, 766 (7th Cir. 2016). It also
              squares with the Advisory Committee’s evident reason for
              declining to add a Rule 6(e) exception for historically-
              significant materials—viz., that district courts already
              authorized such disclosures as a matter of their inherent
              authority. See Pitch, 915 F.3d at 715 (Jordan, J., concurring).
              It is also consistent with various decisions relied on by my
              colleagues, see supra at 7–9 & n.3, none of which dealt with
              whether courts can order disclosures outside of Rule 6(e)’s
              exceptions.

                  Because my colleagues conclude that district courts lack
              authority to release grand jury materials outside the Rule 6(e)
              exceptions, they have no occasion to decide whether, if district
              courts do have that authority, the district court in this case
              appropriately declined to exercise it. I therefore do not reach
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              that issue either. But on the threshold question of whether
              district courts have discretion to consider disclosures beyond
              Rule 6(e), I respectfully dissent from my colleagues’ view
              based on my different reading of our decision in Haldeman.
